                            UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISCRICT OF NORTH CAROLONA
                                 SOUTHERN DIVISION

                              Civil Action No. 5:23-CV-108-M-BM

 JACKSON NATIONAL LIFE                   )
 INSURANCE COMPANY                       )
                                         )
                              Plaintiff, )
                                         )
                     v.                  )
                                         )
 KELLY JARMAN and                        )
 AMANDA BAKER                            )
                                         )
                            Defendants. )
                                         )

        Notice of Settlement & Joint Motion to Disburse Insurance Policy Proceeds


       Now comes Kelly Jarman and Amanda Baker, by and through undersigned counsel, and

respectfully moves the Court, pursuant to Rule 22 and 28 U.S. Code § 1335, for an Order to

disburse the funds paid into the Clerk of Court for the Eastern District of North Carolina, and

shows as follows:

   1. By Order of the Court [D21], Plaintiff deposited $100,000.00, plus interest, (hereinafter

       “the funds”) with the Clerk of Court for the Eastern District of North Carolina pending

       resolution of this matter.

   2. Kelly Jarman and Amanda Baker have settled this matter, and they have agreed that the

       funds shall be split in equal amounts (50% to each), and that this matter should be

       dismissed with prejudice.

   Wherefore, Kelly Jarman and Amanda Baker, respectfully move this Court for an Order

disbursing 50% of the funds to Kelly Jarman by issuing a check to her counsel for her benefit,




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and disbursing 50% of the funds to Amanda Baker by issuing a check to her counsel for her

benefit.



   This the 18th day of July, 2022.

                                                         Respectfully submitted,
                                                         /s/ Michael R. Porter
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